           Case 2:21-cr-20535-DML-DRG ECF No. 1, PageID.30
                                          AUSA:   Diane N. PrincFiled 04/14/21   Page 1
                                                                             Telephone:   of 10
                                                                                        (313) 226-9100
AO 91 (Rev. ) Criminal Complaint                   Special Agent:    Kenton Weston                 Telephone: (313) 202-3400

                                        UNITED STATES DISTRICT COURT
                                                                for the
                                                Eastern District of Michigan

United States of America
   v.
                                                                         Case: 2:21−mj−30176
                                                                         Assigned To : Unassigned
Razan Matti
                                                                         Assign. Date : 4/14/2021
                                                                         CMP: SEALED MATTER (MAW)




                                                  CRIMINAL COMPLAINT

          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

          On or about the date(s) of                  August 13, 2020               in the county of               Wayne        in the
        Eastern           District of      Michigan         , the defendant(s) violated:
          Code Section                                                     Offense Description
        18 USC § 922(a)(6)                               Making false statements during the purchase of a firearm




          This criminal complaint is based on these facts:
see attached affidavit.




✔ Continued on the attached sheet.

                                                                                            Complainant’s signature

                                                                                  Kenton M. Weston, Special Agent (ATF)
                                                                                             Printed name and title
Sworn to before me and signed in my presence
DQGRUE\UHOLDEOHHOHFWURQLFPHDQV

        April 14, 2021
Date:                                                                                          Judge’s signature

City and state: Detroit, Michigan                                         Hon. Elizabeth A. Stafford, United States Magistrate Judge
                                                                                             Printed name and title
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    AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

     I, Special Agent Kenton Weston, being first duly sworn, hereby

depose and state as follows:

                           INTRODUCTION

     1.    I have been employed as a Special Agent with the Bureau of

Alcohol, Tobacco, Firearms, and Explosives (ATF) since January 2018. I

am currently assigned to the Detroit Field Division, Crime Gun

Enforcement Team (CGET), where I am tasked with investigating

violations of federal firearms laws. I have been involved in dozens of

investigations involving violations of federal firearms laws, which have

resulted in the seizure of hundreds of firearms. In addition, I have

graduated from the Federal Law Enforcement Training Center and ATF

Special Agent Basic Training.

     2.    This affidavit is made in support of an application for a

criminal complaint and arrest warrant for Razan MATTI (W/F; DOB:

XX/XX/2000) (hereinafter “MATTI”) for violations of 18 U.S.C. §

922(a)(6) (making false statements during the purchase of a firearm).

     3.    I make this affidavit from personal knowledge based on my

participation in this investigation, including witness interviews by



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myself and/or other law enforcement agents, communications with

others who have personal knowledge of the events and circumstances

described herein, and information gained through my training and

experience. The information outlined below is provided for the limited

purpose of establishing probable cause and does not contain all of the

facts or details known to law enforcement related to this investigation.

                         PROBABLE CAUSE

     4.    In the summer and fall of 2020, ATF CGET Agents and I

began investigating the alleged purchase of multiple firearms by Adult

Victim 1 (AV-1) in August and September 2020 at multiple Federal

Firearms License (FFL) locations in and around Detroit in the Eastern

District of Michigan. Specifically, a review of the paperwork associated

with these transactions revealed that AV-1 had allegedly purchased ten

firearms from August 7, 2020 until September 7, 2020. Two of those

firearms were later recovered by law enforcement at crime scenes in

Detroit; those incidents had no apparent connection to AV-1. None of

the firearms allegedly purchased by AV-1 had been registered with the

State of Michigan.




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        5.   On February 4, 2021, ATF Special Agent Kara Klupacs and I

interviewed AV-1 concerning her alleged purchase of firearms. AV-1

denied purchasing any firearms and informed us that she had lost her

Michigan driver’s license in the summer of 2020 at a Red Roof Inn hotel

in Southfield, Michigan. During the interview, AV-1 showed us her

current Michigan driver’s license, which showed an issue date of July

22, 2020. She further confirmed that her current and past phone

numbers were not the phone number listed on any of the paperwork

associated with the firearms purchased in August and September 2020.

        6.   I obtained and reviewed six of the ATF Form 4473s listing

AV-1 as the purchaser. An ATF Form 4473 is required to be completed

by a purchaser when purchasing a firearm from a FFL. On five of the

six forms, the purchaser had listed his/her phone number as xxx-xxx-

8038 with an area code from Los Angeles, California. On the remaining

ATF Form 4473, the purchaser listed his/her phone number as xxx-xxx-

4856.

        7.   I searched the Courts and Law Enforcement Management

Information System (CLEMIS) for the 8038 number with the Los

Angeles area code. This phone number was listed as Razan MATTI’s



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contact number fourteen times with ten law enforcement agencies over

a nine-month period from October 7, 2019 to July 9, 2020. In addition,

from my investigation in this case, I am aware that MATTI moved to

Detroit from Los Angeles, California approximatley seven years ago. I

also conducted a search in a law enforcement databases for the 4856

phone number. The search revealed that the 4856 phone number was

associated with MATTI’s sister.

     8.    In February 2021, I conducted a search of LEIN for MATTI’s

criminal history and any open warrants. MATTI had been arrested

twice and had six open warrants. MATTI did not have any registered

firearms. Due to her age, MATTI is prohibited from purchasing pistols

with her own identification from FFLs.

     9.    During the course of my investigation, I interviewed MATTI

and learned that MATTI worked at the Southfield, Michigan Red Roof

Inn—the hotel where AV-1 lost her identification—between

approximately March 1, 2020 through at least March 1, 2021.

     10.   On March 3, 2021, Detroit Police Deparment (DPD) officers

arrested MATTI on an outstanding warrant. During the arrest, officers

seized two cell phones from MATTI’s person, including one device



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ending in -9948 with a Los Angeles area code. MATTI stated that both

phones belonged to her. In addition, a search of the law enforcment

database TLO reveals that the -9948 number is registrered to MATTI.

     11.   On March 8, 2021, I obtained a federal search warrant for

MATTI’s cellular devices. This warrant was reviewed and issued by

United States Magistrate Judge David R. Grand. Law enforcement

conducted a forensic extraction of the devices and I subsequently

completed a partial review of the forensic data.

     12.   In the forensic extraction of MATTI’s cellular device ending

in -9948 with the Los Angeles area code, I observed a photograph dated

August 13, 2020 of a pistol sales record (“PSR”) listing AV-1 as the

purchaser and displaying what appears to be an invoice for a Smith &

Wesson SD9VE 9mm (serial # FBN0878) and Glock 17 Gen4 9mm

(serial# BPKF188) from the FFL CC Coins.

     13.   That photograph of the completed PSR and invoice was sent

via text message from MATTI’s device to another individual with a

Detroit area code call number on August 13, 2020. A search of the law

enforcement database TLO revealed the phone number is associated

with the sales representatives who completed the sale at the FFL CC



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Coins. In the text exchange between MATTI and the sales

representative, MATTI sends the photograph of the completed PSR and

invoice, and the sales representative appears to acknowledge a mistake

in the paperwork that he/she will correct.

     14.   From reviewing the ATF Form 4473 associated with this

purchase, I determined that this purchase occurred on August 13, 2020,

i.e., the same date as the text exchange between MATTI and the sales

representative regarding the PSR and invoice. Additionally, I observed

that although “AV-1” is listed as the purchaser, the phone number

provided for the purchaser is the -8038 phone number associated with

MATTI.

     15.   In addition, the ATF Form 4473 contained the following

warning to the buyer:

     Warning: You are not the actual transferee/buyer if
     you are acquiring the firearm(s) on behalf of another
     person. If you are not the actual transferee/buyer, the
     licensee cannot transfer the firearm(s) to you.

On the form, the purchaser stated that he/she was the “actual buyer” of

the firearm by checking the box, “Yes,” to the above question.

Furthermore, the ATF Form 4473 contained the following statement:

     I also understand that making any false oral or


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     written statement, or exhibiting any false or
     misrepresented identification with respect to this
     transaction, is a crime punishable as a felony under
     Federal law, and may also violate State and/or local
     law. I further understand that the repetitive
     purchase of firearms for the purpose of resale for
     livelihood and profit without a Federal firearms
     license is a violation of Federal law …

Below that statement, the purchaser signed his/her name as AV-1. As

an ATF Special Agent, I am aware that if the purchaser had answered

either that he/she was not the “actual buyer” or had refused to state

that his/her answers were true or correct, then the FFL could not have

sold the firearms to the purchaser.

     16.   Furthermore, MATTI’s cellular device ending in -9948 also

contained a text conversation dated January 19, 2021 between MATTI

and an additional, unknown individual where MATTI states that she

uses other people’s identifications to buy firearms from FFLs.

Specifically, she offers to sell a “22” firearm and then explains how she

has sold multiple “Glocks” and “dracos” in the past. During the course

of their conversation, MATTI explains that she purchases the guns in

stores: “I was [going into the store] and had two other ppl doing it[.] I

gave em 100 for each strap they grabbed but different ids.” MATTI

added, “I was literally the gun plug everywhere I went.” MATTI further


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states that she needs additional people to go to stores for her “with the

ids I provide.” When asked how she can “pull that off,” MATTI

responds that she “need[s] ppl that look like the ids I got,” and that the

she uses “legit” identifications—“Mfs jus lost they Id.” Finally, she

explains that she currently has identification for “about 4 girls and

guys.”

      17.   I know from my training and experience as an ATF Special

Agent that “22,” “Glocks,” and “dracos” likely refer to particular models

or calibers of firearms. I further know that the term “strap” is a slang

term for a firearm, and that a “gun plug” is a slang term for a firearm

trafficker. I am also aware that a purchaser cannot purchase a firearm

from an FFL without an actual form of photo identification such as a

state driver’s license.

                             CONCLUSION

      18.   Based on the above information, I have probable cause to

believe that Razan MATTI, who is prohibited from purchasing a pistol

from an FFL due to her age, used the identification of AV-1 to purchase

a Smith & Wesson SD9VE 9mm bearing serial # FBN0878 and a Glock

17 Gen4 9mm bearing serial number BPKF188 from the FFL CC Coin



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on August 13, 2020. In doing so, she made false statements during the

purchase of a firearm, in violation of 18 U.S.C. § 922(a)(6). This

violation occurred within the Eastern District of Michigan.

                                          Respectfully submitted,



                                          Kenton Weston, Special Agent
                                          Bureau of Alcohol, Tobacco,
                                          Firearms and Explosives

Sworn to before me and signed in my presence
and/or by reliable electronic means


_________________________________
Hon. Elizabeth A. Stafford
United States Magistrate Judge

Dated:   April 14, 2021




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